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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                                   CRIMINAL ACTION

              v.                                           NO. 15-0021-1

WILLIAM J. O'BRIEN, III, et al.
           Defendants

                                          ORDER

       AND NOW, this 23rd day of May 2016, upon consideration of Defendant's motion in

limine to exclude expert witness, Stephen Thomas, M.D., from hearing the testimony offered by

other witnesses, (Doc. 389, motion XIII), the Government's response thereto, (Doc. 415), and the

oral argument heard, it is hereby ORDERED that the motion is DENIED, as to Dr. Thomas and

any other expert, and GRANTED, as to any non-expert witness.




                                            BY THE COURT:
